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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA


    SAMUEL COSBY,                              )
                                               )
                  Plaintiff,                   )
                                               )
    -vs-                                       )      Case No. CIV-20-0279-F
                                               )
    UNITED STATES GOVERNMENT,                  )
    et al.,                                    )
                                               )
                  Defendants.                  )

                                         ORDER

           Plaintiff Samuel Cosby, an Oklahoma prisoner appearing pro se, brings this
action claiming violations of his constitutional rights related to his state criminal
conviction, and claiming deliberate indifference to his medical need to be tested for
poison.       Before the court is Magistrate Judge Suzanne Mitchell’s Report and
Recommendation of September 10, 2020 (doc. no. 16), which recommends that the
court dismiss the complaint on initial screening. The Report advises plaintiff that
he may object to the Report on or before October 1, 2020, and that failure to file a
timely objection waives the right to appellate review of both the factual and legal
issues addressed in the Report.         Mr. Cosby has not filed an objection, but a
declaration has been received from non-party David Vickers and has been
considered.1




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 The clerk has mailed a copy of the Report and Recommendation to Mr. Cosby at his record
address three times. The first two mailings were returned. Doc. nos. 18, 19. The third mailing
occurred on October 7, 2020. To date, it has not been returned.
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         The Report is twenty-six pages long. It details which defendants and which
claims should be dismissed with prejudice, and which should be dismissed without
prejudice. The Report provides the magistrate judge’s reasoning, and it concludes
by recommending that the complaint be dismissed in its entirety. The court has
carefully reviewed the Report. Having done so, the court states its agreement with
the Report, including all of its recommended findings and rulings. The court further
finds that given the detailed analysis set out in the Report, no purpose would be
served by any additional discussion of the issues here.
        With there being no objection to the Report, and having reviewed the matters
covered there, the Report and Recommendation of the magistrate judge is
ACCEPTED, ADOPTED and AFFIRMED in all respects, and the complaint is
DISMISSED in its entirety.
        IT IS SO ORDERED this 5th day of November, 2020.




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